UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

CORPUS CHRISTI DIVISION

 

UNITED STATES OF AMERICA

vs. CRIMINAL NUMBER
(1) ROBERT MARTINEZ HINOJOSA,
AKA BIG ROB,
(2) MATTHEW JOHN SAYLES,
AKA MATEO,
AKA MONEY MATT,
(3) RAUL BENAVIDES,
AKA JOKER,
(4) GILBERTO SALDANA, JR.,
AKA DOE DOE,
AKA JERRY,
(5) JUAN LEBRADO PENA,
AKA SLIM,
(6) SERGIO LORENZO PENA,
AKA YOUNGSTER,
AKA BOY,
(7) DANNY RAY MARTINEZ,
AKA RASKAL,
(8) JOE DANIEL DAVILA,
AKAJ.D.,
(9) RAUL VALDEZ,
AKA PELON,
(10) SERENITY LYNN MCCRACKEN

C-20-569

MOTION TO SEAL INDICTMENT AND RELATED DOCUMENTS
TO THE HONORABLE JUDGE OF SAID COURT:

The United States, by and through its United States Attorney, Ryan K. Patrick, and
Assistant United States Attorney, Michael E. Hess, respectfully requests the Court enter an order
directing the Clerk of the Court to SEAL the Indictment and the Motion and Order to Seal in the
above-referenced case as to the above defendants until the arrest of each of the individually named
defendants, at which time it is requested that this Indictment, Motion and Order be unsealed. The

Unites States specifically requests this indictment remain SEALED until March 20, 2020 as
defendants (2) MATTHEW JOHN SAYLES, AKA MATEO, AKA MONEY MATT, and (9)
RAUL VALDEZ, AKA PELON, who are in federal custody at this time. Should they receive
notice of these charges before that date, there will be a risk to law enforcement and others,
endangering their life or physical safety. Further, it will create an opportunity for those not in
custody to flee from prosecution, destroy or tamper with evidence, intimidate witnesses, and
otherwise seriously jeopardize the investigation. The United States also respectfully requests the
Court enter an order directing the United States Marshal’s Service for the Southern District of
Texas enter the Warrant for Arrest of the above defendants into the National Crime Information
Center (NCIC) database upon the oral or written request of any Assistant United States Attorney
for the Southern District of Texas.
Respectfully submitted,

RYAN K. PATRICK
UNITED STATES ATTORNEY

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MICHAEL E. HESS
Assistant United States Attorney

 
